Case 8:15-cv-02515-VMC-AEP Document 38 Filed 03/08/16 Page 1 of 1 PageID 132



                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         OCALA DIVISION
 ERICKA LOOFE,

      Plaintiff,

 v.                                                     CASE NO.: 8:15-CV-2515-T-33AEP

 JPMORGAN CHASE BANK, N.A.,

      Defendant.
                                                    /

                                NOTICE OF PENDING SETTLEMENT
           Plaintiff, ERICKA LOOFE, by and through her undersigned counsel, hereby submits this Notice
of Pending Settlement and states that Plaintiff, ERICKA LOOFE, and Defendant, JPMORGAN CHASE
BANK, N.A., have reached a settlement with regard to this case and are presently drafting, finalizing, and
executing the settlement and dismissal documents. Upon execution of same, the parties will file the
appropriate dismissal documents with the Court.
                                     CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on March 8, 2016, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system to the following CM/ECF: hookerm@phelps.com,
claudia.kitchell@phelps.com,          guy.mcconnell@phelps.com,             adam.levin@hoganlovells.com,
carolyn.delone@hoganlovells.com.
           I FURTHER CERTIFY that I mailed the foregoing document and the notice of electronic filing
by first-class mail to the following non-CM/ECF participants: Mitchell E. Zamoff, Esq., Hogan Lovells US
PPL80, South Eighth Street, Suite 1225, Minneapolis, MN 55402.


                                                  Respectfully submitted,

                                                  /s/William Peerce Howard
                                                  William Peerce Howard, Esquire
                                                  Florida Bar No: 0103330
                                                  Amanda J. Allen, Esquire
                                                  Florida Bar No.: 0098228
                                                  THE CONSUMER PROTECTION FIRM
                                                  210-A South MacDill Avenue
                                                  Tampa, FL 33609
                                                  Telephone: (813) 500-1500
                                                  Billy@TheConsumerProtectionFirm.com
                                                  Amanda@TheConsumerProtectionFirm.com
